392 F.2d 591
    UNITED STATES of America, Plaintiff-Appellee,v.Pellegrino MILLO, Defendant-Appellant.
    No. 513, Docket 29743.
    United States Court of Appeals Second Circuit.
    April 25, 1968.
    
      Before LUMBARD, Chief Judge, and WATERMAN and HAYS, Circuit Judges.
      PER CURIAM:
    
    
      1
      After we affirmed the conviction of Millo, 354 F.2d 224 (2 Cir. 1965), appellant petitioned the Supreme Court of the United States for the issuance of a writ of certiorari to review that affirmance.  The writ having been granted, the judgment of conviction in the district court and the judgment of this court affirming the conviction were vacated and the action was remanded to us, sub nom Piccioli v. United States, 390 U.S. 202, 88 S.Ct. 899, 19 L.Ed.2d 1034 (1968), for further consideration in the light of Marchetti v. United States, 390 U.S. 39, 88 S.Ct. 697, 19 L.Ed.2d 889 (1968).
    
    
      2
      After taking further consideration we now on the authority of Marchetti remand the case to the district court and direct that the indictment be dismissed.
    
    